        Case 3:13-cr-04510-JAH   Document 1750 Filed 03/06/17   PageID.13139                     Page 1
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                            UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OP CALIFORNIA                 17'HAR ., Pltfla 11
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                                                                      ll.a· .-:· . .v.s.< .lll&t
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                                               CABE NO. 13-cr-04510-JAH-22                        ~.,,,....,.
UNITED STATES OF AMERICA,
                                                                    ~¥'                           ~
                           Plaintiff,
                    vs.                        JUDGMENT OP DISMISSAL
  NICOLE LEE RICE,

                           Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

         an indictment has been filed in another case against the defendant and
         the Court has granted the motion of the Government for dismissal of
         this case, without prejudice; or

          the Court has dismissed the case for unnecessary delay; or

_x__      the Court has granted the motion of the Government for dismissal,
          without prejudice; or

          the Court has granted the motion of the defendant for a judgment of
          acquittal; or

          a jury has been waived, and the Court has found the defendant not
          guilty; or

          the jury has returned its verdict, finding the defendant not guilty;

...1L     of the offenses as charged in the Indictment:

          18:1962(d); 18:1963, 1594(d) and 2428(a) - Conspiracy to Conduct
           Enterprise Affairs Through A Pattern of Racketeering Activity


                IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: 03/06/2017
                                                     A. Houston
                                                     District Judge
